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AO 98 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT FILED
for the March 08, 2024
* tet CLERK, U.S. DISTRICT COURT
Westem District of Texas WESTERN DISTRICT OF TEXAS
United States of America ) BY: Fidel Morales
Vv. ) DEPUTY
Defendant: ESPARZA-Lozoya, Jose Carlos Case No.
EP:24-M-01029-MAT
)
Defendant(s)
CRIMINAL COMPLAINT
1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 06, 2024 in the county of El Paso in the
Western District of Texas , the defendant(s) violated:
Code Section Offense Description

8:1324(a}(1 (A}(ii) and (a)(1)(BY(ii) knowing and in reckless disregard of the fact that an alien has come to,
entered, and remained in the United States in violation of faw, did transport,
move, and attempt to transport and move such alien within the United States
in furtherance of sald violation of law.

This criminal complaint is based on these facts:

See attachment.

@ Continued on the attached sheet.

< *
Complaint sworn to telephonically on Milaa. Clty
March 08, 2024 at 12:50 PM and signed Complainant's signature

electronically. FED.R.CRIM.P. 4.1(b)(2)(A) Ofilia Saenz, Border Patrol Agent

Printed name and title

Sworn to before me and signed in my presence.

Date: 03/08/2024 for

Judge's signature

City and state: El Paso, Texas Miguel A. Torres, U.S. Magistrate Judge
Printed name and title

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CONTINUATION OF CRIMINAL COMPLAINT
WESTERN DISTRICT OF TEXAS

Jose Carlos ESPARZA-Lozoya

PEPT# PEPT240300085

03/08/2024

FACTS (CONTINUED)

On March 6, 2024, the Ysleta Border Patrol Station received a phone call from the Socorro Police Department
requesting assistance identifying individuals at a vehicle stop near the 10700 block of Carbajal Road in
Socorro, Texas, in the Western District of Texas. Socorro PD advised the Ysleta Border Patrol Station that the
vehicla stop stemmed from a 911 call placed by a concerned citizen.

An Agent responded to the location, approached the four individuals to include the DEFENDANT, Jose Carlos
ESPARZA-Lozoya and identified himself as a United States Border Patrol Agent. The Agent questioned the
individuals as to their citizenship and nationality and determined that three of the individuals were citizens and
nationals of Guatemala. The DEFENDANT stated that he was a citizen and national of Mexico. The
DEFENDANT and the three illegal aliens were placed under arrest and transported to the Ysleta Border Patrol
Station for further processing and investigation.

The DEFENDANT was read his Miranda Rights, which he acknowledged and signed.

In a post-Miranda Statement, the DEFENDANT stated that he was the pick- up driver in the Volkswagen Jetta
that was pulled over by Socorro PD. The defendant stated that he was in contact with an individual named
"Hershey," that offered to pay the DEFENDANT $300 USD for each “caja” (illegal alien) he transported. The
DEFENDANT stated that he knew the individuals he picked up were illegal aliens and that it is against the law
to pick up illegal aliens.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, | have not included each and every fact known to me concerning this investigation.

immigration History:
The DEFENDANT has been granted 1 voluntary departure(s), the last on November 1, 2006, through EL

PASO, TX

Criminal History:
NONE
